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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1475V
                                      Filed: April 22, 2016
                                          Unpublished

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LAURIE SIMMON,                         *
                                       *
                   Petitioner,         *     Ruling on Entitlement; Concession;
                                       *     Influenza Vaccination;
 v.                                    *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                    *     Administration (“SIRVA”);
AND HUMAN SERVICES,                    *     Special Processing Unit (“SPU”)
                                       *
                   Respondent.         *
                                       *
****************************
Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Debra Begley, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On December 7, 2015, Laurie Simmon (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleges that she
suffered a shoulder injury related to vaccine administration (“SIRVA”) as a result of
receiving the influenza vaccine on September 24, 2014. Petition at 1. Petitioner further
alleges that she has suffered the residual effects of her injury for more than six months
and that no lawsuit has been filed or settlement accepted by herself or anyone else for
her injuries. Id. at ¶¶ 16-17. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

       On April 21, 2016, respondent filed her Rule 4(c) report in which she concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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at 1. Specifically, respondent indicates that she “believes that the alleged injury is
consistent SIRVA that was caused by the administration of petitioner’s flu vaccination.”
Id. at 3. Respondent further indicates that “petitioner meets the statutory requirements
by suffering the condition for more than six months . . . [and] has satisfied all legal
prerequisites for compensation under the Vaccine Act.” Id. (citations omitted).

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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